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Attorney for Defendants Sheriff Jason Myers et al.




                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON


ISAACKY GAVRJLOVICH SHARIPOFF,                              CaseNo.6:18-cv-1659-MK


                                     Plaintiff,             DEFENDANTS' MOTION TO
                                                            DISMISS PLAINTIFF'S
                                                            COMPLAINT AND
       V.                                                   MEMORANDUM IN SUPPORT



JASON METERS, etal,

                                 Defendants.




                                    LR 7.1 CERTIFICATION

                                                                       ^th
       Counsel for Defendants sent Plaintiff a letter, on Febmary 19th, 2019 that generally


outlined Defendants' basis for a motion to dismiss his Complaint. Attempts at resolution of this


disagreement have been outlined in Counsel for Defendants' Declaration of Counsel.


Defendants presume that Plaintiff objects to this Motion to Dismiss.




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                                             MOTION

         Comes now Defendants, by and through Joe Miller, Assistant Legal Counsel, and moves


this court for an order dismissing Plaintiffs Complaint. Defendants respectfully request that


Plaintiffs Complaint be dismissed, pursuant to Federal Rules of Civil Procedure (FRCP)

12(b)(l), 12(b)(4), and 12(b)(6) because the complaint fails to state: that Defendants received

sufficient process, sufficient facts to substantiate a claim, sufficient facts to substantiate claims


against all named defendants, a cognizable legal theory, a cognizable legal theory giving the


court subject-matter jurisdiction to hear Plaintiffs Complaint, an allegation of damages, a


cognizable request for relief, and that Plaintiff exhausted all available administrative remedies


prior to filing this suit.

     This Motion is supported by the Memorandum of Points and Authorities filed herewith.

                                  MEMORANDUM OF LAW

    I. Motion to Dismiss Standard


        When considering a motion to dismiss brought pursuant to Federal Rule of Civil


Procedure 12(b)(6), the court must construe the factual allegations in the light most favorable to


the non-moving party, taking all material allegations to be true. State v. Kennedy, 794 F.2d 478,


481 (9th Cir. 1986). This does not mean that the Court will find that Plaintiffs allegations are

true, but that the Court will consider that /yPlaintiffs allegations were true whether dismissal of


the complaint is appropriate.



        To survive a motion to dismiss a complaint must contain enough factual matter to suggest


the elements of the claims asserted. Bell Atlantic Corp. v. Twombty, 550 U.S. 544, 555 (2007).


Where the complaint "lacks a cognizable theory" or when there are "insufficient facts under a


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cognizable legal claim," dismissal is appropriate. Robertson v. Dean Witter Reynolds, Inc., 749

F.2d 530,534 (9th Cir. 1984).

     II. Insufficient Process: Lack of Tort Claim Notice


         FRCP 12(b)(4) provides that one defense to a complaint is "insufficient process."

Plaintiffs pleadings did not address whether Plaintiff complied with ORS 30.260 et seq, the

Oregon Tort Claims Act (OTCA). The OTCA requires that notice of a claim must be given to a

public body "within 180 days after the alleged loss or injury." ORS 30.275(2)(a). Plaintiffs

complaint brings forth allegations against members of the Marion County Sheriffs Office, which

is a component of a public body in which the OTCA applies. Plaintiffs failure to plead whether

or not notice was provided as required by ORS 30.275(2)(a) is a failure to plead that sufficient

process was conducted under FRCP 12(b)(4).

         Furthermore, any claim alleged by Plaintiff subject to the requirements of the OTCA

should be dismissed as Plaintiffs Complaint was not filed within 180 days. Plaintiff pleads that

he was housed at the Marion County Jail from December 1, 2017 to February 27, 2018.2 While


Plaintiff does not allege a date giving rise to his claim, the Court can infer from the face of the


Complaint that the last possible date that the allegation could have occurred is February 27,


2018. In order for Plaintiffs Complaint to serve as notice under the OTCA, it would have to


have been filed with 180 days of February 27, 2018, which would have been August 26,2018.

Plaintiff did not initiate this suit until September 12, 2018. Plaintiffs suit was not filed timely

enough to serve as a notice of an action against a public body as required by ORS 30.275(2)(a)

and for this reason, dismissal pursuant to ORS 30.275(2)(a) and FRCP 12(b)(4) is appropriate.


1. See Plaintiffs Complamt (Doc. 1) at Pg. 2.
2. Id.
3. See Plaintiffs Complaint (Doc. 1).
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     III. Failure to State Claim Upon Which Relief Can be Granted

          a. Failure to State Sufficient Facts


         FRCP 12(b)(6) provides that a claim may be dismissed if it fails to "state a claim in upon

which relief can be granted." In order for a complaint to survive a motion to dismiss, it must


contain enough factual matter to suggest the elements of the claims asserted. Bell Atlantic Corp.


v. Twombly, 550 U.S. 544, 555 (2007). A claim for relief requires "more than labels and


conclusions, and a formulate recitation of the elements of a cause of action will not do." Id.


         Plaintiff fails to assert sufficient facts to establish a claim against the named Defendants.4


While Plaintiffs alleges plenty ofimpermissible conclusions, the Complaint does present


sufficient facts to establish any claim against Defendants. For this reason, this action should be


dismissed pursuant to FRCP 12(b)(6).

          b. Failure to Identify Cognizable Legal Theory


         FRCP 12(b)(6) provides that a claim may be dismissed if it fails to "state a claim upon

which relief can be granted." A claim may appropriately be dismissed as a matter of law for one


of two reasons: "(I) lack ofacognizable legal theory or (2) insufficient facts under a cognizable


legal claim." Robertson v. Dean Witter Reynolds, Inc., 749 F.2d 530, 534 (9th Cir. 1984).


Plaintiff fails to identify a legal theory as the basis for this action. Even giving Plaintiffs claim

the broadest reading, as required by State v. Kennedy, there is no cognizable legal theory for a


claim against Defendants that can be identified in Plaintiffs Complaint. For this reason,


Plaintiffs Complaint should be dismissed pursuant to FRCP 12(b)(6).




4. Id.
5. Id.
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          c. Failure to Assert Any Facts Against Multiple_Defendants


         FRCP 12(b)(6) provides that a claim may be dismissed if it fails to "state a claim upon

which relief can be granted." Plaintiff failed to assert any fact or cognizable legal theory against


Defendants Myers and Ramsey. Defendants Myers and Ramsey should be dismissed from this


action because Plaintiff failed to plead any facts or cognizable legal theory against Defendants


Myers and Ramsey.


          d. Failure to Plead Damages/Request Relief


         FRCP 12(b)(6) provides that a claim may be dismissed if it fails to "state a claim upon

which relief can be granted." Plaintiffs failed to assert, as a matter of fact, any identifiable


injury or damages sustained by Plaintiff.7 Additionally, Plaintiff failed to state how any named

Defendant caused an injury to Plaintiff. Furthermore, the Complaint fails to make any


identifiable request for relief or legal basis for the requested relief.


         Plaintiffs Complaint should be dismissed pursuant to FRCP 12(b)(6) because the

complaint fails to plead sufficient facts to establish that Plaintiff sustained an injury or was

harmed, causation of an injury, and causation of an injury due to the act of a named Defendant.


Additionally, Plaintiffs Complaint should be dismissed pursuant to FRCP 12(b)(6) because the

complaint fails to identify any relief being requested or a cognizable legal basis for relief,


     IV. Lack of Subject-lVIatter Jurisdiction


         FRCP 12(b)(l) provides that a complaint may be dismissed if the court lacks "subject-

matter jurisdiction." Plaintiff failed to plead a cognizable legal theory to support his claim.


Defendants and Plaintiff are citizens of Marion County, Oregon. Since there is no diversity of


6. Id.
7. Id.
8. Id.

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the parties, the only jurisdiction possible for the court to have over this matter would be subject-


matter jurisdiction. Without a cognizable legal theory to support this action, Plaintiff did not

sufficiently plead that the court has subject-matter jurisdiction to hear this case. For these


reasons. Plaintiffs Complaint should be dismissed for lack of subject-matter jurisdiction

pursuant to FRCP 12(b)(l).

    V. Failure to Exhaust Remedies


         Plaintiffs Complaint states that the Marion County Jail has grievance procedures.


However, Plaintiff failed to plead whether or not he utilized those grievance procedures,


Plaintiff also failed to plead that if he did submit a grievance, what the subject matter of the

grievance was, who the grievance was against, when the grievance was filed, or whether Plaintiff


exhausted all available appeals of the grievance. Plaintiffs own Complaint raises the question of


whether Plaintiff exhausted all available administrative remedies prior to filing this suit. This

action should be dismissed because while the Complaint identifies administrative remedies


available to Plaintiff, he failed to plead that he exhausted all available administrative remedies.




                                                  CONCLUSION

         Plaintiffs' Complaint should be dismissed, pursuant to FRCP 12(b)(l), 12(b)(4), and

12(b)(6) because the Complaint failed to state: that Defendants received sufficient process to

preserved a claim against a public body pursuant to the OTCA, sufficient facts to substantiate a


claim, sufficient facts to substantiate claims against all named defendants, a cognizable legal


theory, a cognizable legal theory giving the court subject-matter jurisdiction to hear this suit, an




9. See Plaintiffs Complaint (Doc. 1) at Pg. 2.
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allegation of damages, a cognizable request for relief, and that Plaintiff exhausted all available


administrative remedies prior to filing this suit.




       DATED this 10th day of April, 2019.

                                                             j^^/^M^r
                                                          ^e Miller, OSB# 160851
                                                              Of Attorneys for Defendants Jason
                                                            Myers, (SGT) Ramsey, Sophie
                                                            Polonsky, Whittaker, C.Crties, and
                                                            Valsquez or Dominick CrisafLilli




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                                 CERTIFICATE OF SERVICE

       I hereby certify that I served the foregoing DEFENDANTS' MOTION TO DISMISS

PLAINTIFF'S COMPLAINT AND MEMORANDUM IN SUPPORT on the following persons:

                                     Isaacky Gavrilovich Sharipoff
                                     PO Box 514
                                     Woodbum, OR 97071
                                      Plaintiff, pro se

By the following indicated method or methods:

              By electronic means through the Court's Case Management/Electronic Case File
              system on the date set forth below;


   XX By mailing a full, true, and correct copy thereof in a sealed, first-class postage-
              prepaid envelope, addressed to the attorney's last-known office address listed
              above and causing it to be deposited in the U.S. Mail at Salem, Oregon on the date
              set forth below;

              By electronic means to the attorney's last-known e-mail address listed on the
              Oregon State Bar Online Membership Directory on the date set forth below;


              By causing a copy thereof to be hand-delivered to said attorney at each attorney's
              last-known office address listed above on the date set forth below;


      DATED this 10th day of April, 2019.




                                                         ^/oe Mmer,7)SB# 160851
                                                           Assistant Legal Counsel
                                                             Of Attorneys for Defendants Jason
                                                           Myers, (SGT) Ramsey, Sophie
                                                           Polonsky, Whittaker, C.Crties, and
                                                           Valsquez or Dominick Crisafulli




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